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                                UNITE D STATE S DISTRICT COURT
                                SOUTH E RN DISTRICT OF F LORIDA
                                      BROWARD DIVISION

                                     CASE NO. 0:19-cv-60883-WJ Z

 RE INIE R F UENTE S,

          P la in t iff,
 vs.

 CLASSICA CRUISE OP E RATOR LTD., INC.,
 a F or eign P r ofit Cor por a t ion

          Defen da n t .
                                                      /

       D EF EN D AN T CLAS S ICA CRU IS E LINE OP ERATOR LTD ., IN C.’S
  AN S WER AN D AF F IRMATIVE D EF EN S ES TO P LAIN TIF F ’S COMP LAIN T

       Defen da n t , CLASSICA CRUISE OP E RATOR, LTD., INC. (“Defen da n t ”), by a n d

 t h r ou gh t h e u n der sign ed a t t or n eys, files it s a n swer t o P la in t iff’s Com pla in t [D.E . 1]

 a n d a sser t s it s a ffir m a t ive defen ses a s follows:

                                      GEN ERAL ALLEGATION S

          1.        Defen da n t is wit h ou t kn owledge a s t o t h e t r u t h of t h e a llega t ions

 con t a in ed wit h in ¶ 1, t h er efor e den ies sa m e a n d dem a n ds st r ict pr oof t h er eof.

          2.        F or pu r poses of t h is lit iga t ion on ly, Defenda n t a dm it s: t ha t ven u e is

 pr oper u n der 28 U.S.C. §1333; t h a t t h e Cr u ise Ticket Con t r a ct r equ ir es su it t o be

 br ou gh t in t h e Sou t her n Dist r ict of F lor ida ; a n d t h a t t o t h e ext en t P la in t iff h a s a

 ca u se of a ct ion , wh ich Defen da n t den ies, it a r ises u n der a n d is gover n ed by t h e

 Gen er a l Ma r it im e La w of t h e Un it ed St a t es. Defen da n t is wit h ou t kn owledge a n d

 den ies t h e r em a in in g a llega t ion s in ¶ 2.

          3.        Defen da n t is wit h ou t kn owledge a s t o t h e t r u t h of t h e a llega t ions

 con t a in ed wit h in ¶ 3, t h er efor e den ied.

          4.        F or pu r poses of t h is lit iga t ion on ly, Defen da n t a dm it s it is a for eign

 pr ofit cor por a t ion , incor por a t ed in t h e Com m on wea lt h of t h e Ba h a m a s, a u t h or ized




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 a n d t r a n sa ct in g bu sin ess in F lor ida , wit h it s pr in cipa l a ddr ess list ed a s in New

 Yor k.

          5.      F or pu r poses of t h is lit iga t ion only, Defen da n t a dm it s: t h a t ven u e a n d

 ju r isdict ion is pr oper ; t h a t t h e Cr u ise Ticket Con t r a ct r equ ir es su it t o be br ou gh t in

 t h e Sou t h er n Dist r ict of F lor ida ; a n d t h a t t o t h e ext en t P la int iff h a s a ca u se of

 a ct ion , which Defen da n t den ies, it a r ises u n der a n d is gover n ed by t h e Gen er a l

 Ma r it im e La w of t h e Un it ed St a t es. Defen da n t den ies t h e r em a in in g a llega t ion s in

 ¶ 5 , in clu din g a ll su bpa r a gr a ph s (a ) t h r ou gh (e).

          6.      F or pu r poses of t h is lit iga t ion , Defen da n t a dm it s on ly t h a t it oper a t ed

 t h e Gran d Classica on t h e da t e of t h e a lleged in ciden t a s a cr u ise sh ip for fa r e

 pa yin g pa ssen ger s. Defen da n t den ies t h e r em a in ing a llega t ion s in ¶ 6.

          7.      Den ied.

          8.      F or pu r poses of t h is lit iga t ion , Defen da n t a dm it s on ly t h a t it oper a t ed,

 m a n a ged, m a in t a in ed a n d/or con t r olled t h e Gran d Classica on t h e da t e of pla in t iff’s

 a lleged in ciden t . Defen da n t den ies t h e r em a in in g a llega t ion s in ¶ 8.

          9.      Den ied.

          10.     Adm it t ed on ly t h a t P la in t iff wa s a pa ssen ger on t h e Gran d Classica.

 Defen da n t is wit h ou t kn owledge a s t o t h e t r u t h of t h e a llega t ion s con t a in ed wit h in

 ¶ 10 except a dm it s t h a t P la in t iff wa s a pa ssen ger on t h e Gran d Classica h a vin g

 pu r ch a sed a t icket for pa ssa ge.

          11.     Den ied.

          12.     Den ied.

          13.     Den ied.

          14.     Den ied.

                                                  COU N T I
                                               N EGLIGE N CE




                                                          2
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          Defen da n t r e-a dopt s, r ea sser t s a n d in cor por a t es it s a n swer s t o pa r a gr a ph s 1

 t h r ou gh 14, a s t h ough set for t h fu lly h er ein .

          15.      Den ied.

          16.      Den ied.

          17.      Den ied.

          18.      Den ied, in clu din g a ll su bpa r a gr a ph s (a ) t h r ou gh (m ).

          19.      Den ied.

 Wh er efor e cla u se —D en ied.

                                     D EMAN D F OR J U RY TRIAL

     Defen da n t den ies t h a t P la in t iff is en t it led t o a ju r y t r ia l. P la int iff a dm it s t his

 Cou r t h a s su bject m a t t er ju r isdict ion u n der it s a d m ir a lt y ju r isdict ion . See [DE 1],

 ¶ 2. Th e gen er a l r u le is t h a t a ju r y t r ia l is n ot a va ila ble wh en a dm ir a lt y ju r isdict ion

 is pled. S ee F ed.R.Civ.P . 38(e) (“t h ese r u les sh a ll n ot be con st r u ed t o cr ea t e a r igh t

 t o t r ia l by ju r y of t h e issu es in a n a dm ir a lt y or m a r it im e cla im wit h in t h e m ea n ing

 of Ru le 9(h )”); Pen ton v. Pom pan o Con str. Co., 976 F .2d 636 n .2 (11t h Cir . 1992) (“a s

 a gen er a l r u le, m a r it im e cla im s br ou gh t in a dm ir a lt y a r e n ot t r ia ble t o a ju r y”),

 overru led on oth er grou n d s by Ald erm an v. Pac. N orth ern Victor, In c., 95 F .3d 1061

 (11t h Cir . 1996); B eisw en ger E n ters. Corp. v. Carletta, 86 F .3d 1032, 1037 (11t h Cir .

 1996) (“[i]n lim it a t ion pr oceedin gs, a s in a ll a dm ir a lt y ca ses, t h er e is n o r igh t t o a

 ju r y t r ia l”) (in t er n a l cit a t ion s om it t ed); 9 Ch a r les A. Wr igh t a nd Ar t h u r R. Miller ,

 Fed eral Practice an d Proced u re § 2315 (2008) (“[i]t h a s been r ecogn ized fr om ea r ly

 t im es t h a t t h er e is n o r igh t t o ju r y t r ia l on t h e a dm ir a lt y side of feder a l cou r t ”);

 Th om a s J . Sch oen ba u m , Ad m iralty an d M aritim e L aw § 19-9 (2001) (“[s]in ce t he

 ea r ly yea r s of t h e r epu blic, t h e gen er a l r u le a pplies t h a t t h er e is n o r igh t t o t r ia l by

 ju r y of a civil a dm ir a lt y cla im”).

     Th er efor e, P la in t iff is n ot en t it led t o a t r ia l by ju r y a n d h is dem a n d sh ou ld be

 st r icken fr om P la in t iff’s Com pla in t a s it is im m a t er ia l a n d im per t in en t .

                                                          3
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                                     AF F IRMATIVE D E F EN S ES

         As sepa r a t e a n d com plet e defen ses, ba sed on in for m a t ion a n d belief,

 Defen da n t CLASSICA CRUISE OP E RATOR, LTD., INC. st a t es a s follows:

                                 F IRS T AF F IRMATIVE D EF EN S E

         As it s F ir st Affir m a t ive Defen se, Defen da n t a lleges P la in t iff’s Com pla in t fa ils

 t o st a t e a ca u se of a ct ion for wh ich r elief m a y be gr a n t ed, a n d a ccor din gly it sh ou ld

 be dism issed wit h pr eju dice.

                               S ECON D AF F IRMATIVE D EF EN S E

         As it s Secon d Affir m a t ive Defen se, Defen da n t a lleges t h a t P la in t iff’s da m a ges

 wer e ca u sed eit h er in wh ole or in pa r t by h is own n egligen t a ct s or om ission s, a n d

 t h a t su ch n egligen t a ct s a n d/or om ission s, in clu din g bu t n ot lim it ed t o t h e fa ilu r e t o

 exer cise r ea son a ble ca r e for h is own sa fet y, wer e t h e sole a n d pr oxim a t e ca u se of

 a n y a n d a ll inju r ies or da m a ges a s a lleged in t h e Com pla int , a n d a s su ch , t h e

 P la in t iff’s r igh t t o recover y is eit h er ba r r ed or , wit h ou t a dm it t in g lia bilit y, a n

 a wa r d, if a ny, sh a ll be r edu ced pu r su a n t t o t h e doct r in e of Com pa r a t ive Negligen ce.

                                THIRD AF F IRMATIVE D EF EN S E

         As it s Th ir d Affir m a t ive Defen se, Defen da n t a lleges wit h ou t a dm it t ing

 lia bilit y t ha t P la in t iff’s da m a ges wer e ca u sed eit h er in wh ole or in pa r t by t h e a ct s

 a n d/or om ission s of t h ir d per son s, in clu din g Clyn t S. H a dley a n d/or ot h er

 pa ssen ger s, for wh om Defen da n t is n ot r espon sible a n d t ha t a m ou n t s t o a

 su per sedin g ca u se t h a t cu t s off a n y ca u sa l con n ect ion bet ween Defen da n t ’s a lleged

 n egligen ce, if a n y, a nd P la in t iff’s in ju r ies.

                               F OU RTH AF F IRMATIVE D EF EN S E

         As it s F ou r t h Affir m a t ive Defen se, Defen da n t a lleges t h a t n o da n ger ou s

 con dit ion exist ed t h a t ca u sed or con t r ibu t ed t o P la in t iff’s a lleged in ciden t .

 Alt er n a t ively, if t h e da n ger ou s con dit ion descr ibed in P la in t iff’s Com pla in t did

 exist , Defen da n t a lleges t h e P la in t iff fa iled t o obser ve a n open a n d obviou s

                                                             4
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 con dit ion ; a n d it wa s t h e n egligen ce of t h e P la in t iff in fa ilin g t o u se h is own sen ses,

 wh ich ga ve r ise t o t he a lleged a cciden t a nd a n y a lleged inju r y a r isin g t h er e fr om ,

 a n d t h er efor e P la in t iff ca n n ot r ecover for t h e a lleged a cciden t .




                                 F IF TH AF F IRMATIVE D EF EN S E

          As it s F ift h Affir m a t ive Defen se, Defen da n t a lleges t h er e is n o ca u se of a ct ion

 a s Defen da n t h a d n o a ct u a l or con st r u ct ive n ot ice of a n y da nger ou s con dit ion (s).

 Mor eover , a s Defen da n t h a d n o a ct u a l or con st r u ct ive n ot ice of a n y da n ger ou s

 con dit ion , Defen da n t h a d n o du t y t o wa r n .

                                  S IXTH AF F IRMATIVE D EF EN S E

          As it s Sixt h Affir m a t ive Defen se, Defen da n t a lleges wit h ou t a dm it t ing

 lia bilit y, u pon in for m a t ion a n d belief t h a t t h e in ju r ies a lleged by t h e P la in t iff in t h e

 Com pla in t wer e pr e-exist in g. Th er efor e, Defen da n t ca n n ot be h eld lia ble for su ch

 in ju r ies a n d/or m edica l con dit ion s, a s t h ey wou ld h a ve been in evit a bly wor sen ed.

 Alt er n a t ively, if P la in t iff wa s in ju r ed a s a lleged, su ch in ju r ies ext en d on ly t o a n

 a ggr a va t ion of t h e pr e-exist in g con dit ion s.

                               S EVEN TH AF F IRMATIVE D EF EN S E

          As it s Seven t h Affir m a t ive Defen se, Defen da n t a lleges wit h ou t a dm it t in g

 lia bilit y, t ha t it is en t it led t o a set -off for a n y a n d a ll m onies pa id on beha lf of

 P la in t iff t owa r ds h is t r ea t m en t a n d/or m edica l ca r e a s well a s a n y m on ies r eceived

 fr om colla t er a l sou r ces for t h e da m a ges a lleged in t h e Com pla in t .

                                EIGHTH AF F IRMATIVE D EF EN S E

          As it s E igh t h Affir m a t ive Defen se, Defen da n t a lleges a n d in vokes t h e t er m s

 a n d con dit ion s of t h e cr u ise t icket u pon wh ich P la in t iff a lleges he boa r ded t h e vessel

 a n d a sser t s t h a t P la in t iff’s a ct ion is su bject t o t h e lim it a t ion s, t er m s a n d con dit ion s



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 con t a in ed t h er ein . Defen da n t a dopt s a n d in cor por a t es t h e en t ir et y of t h e cr u ise

 t icket con t r a ct in t h is An swer by r efer en ce.

                                N IN TH AF F IRMATIVE D EF EN S E

         As it s Nin t h Affir m a t ive Defen se, Defen da n t a lleges t h a t t h e a lleged t or t

 occu r r ed in a n d on in t er n a t ion a l n a viga ble wa t er s a n d a s su ch , t h e gen er a l

 m a r it im e la w of t h e Un it ed St a t es a pplies, t o t h e exclu sion of a n y st a t e la w of t h e

 Un it ed St a t es.

                                TEN TH AF F IRMATIVE D EF EN S E
         As it s Ten t h Affir m a t ive Defen se, Defen da n t a lleges, wit h ou t a dm it t in g

 lia bilit y, t ha t u pon infor m a t ion a n d belief, P la in t iff fa iled t o m it iga t e h is da m a ges,

 a n d t h er efor e, a n y da m a ges a wa r ded sh ou ld be r edu ced a ccor din gly.

                             ELEVEN TH AF F IRMATIVE D EF EN S E

         As it s E leven t h Affir m a t ive defen se, Defen da n t a lleges t h a t u pon in for m a t ion

 a n d belief P la in t iff fa iled t o seek t im ely a n d/or a ppr opr ia t e m edica l t r ea t m en t for

 t h e in ju r ies a lleged in t h e Com pla in t , which fa ilu r e exa cer ba t ed a n y in ju r y a n d a n y

 da m a ges a wa r d m u st be r edu ced a ccor din gly

                              TWELF TH AF F IRMATIVE D EF EN S E

         As it s Twelft h Affir m a t ive Defen se, Defen da n t a lleges, wit hou t a dm it t ing

 lia bilit y, t h a t t h e lia bilit y of n on -pa r t y t or t fea sor s, in clu din g Clyn t . S. H a dley

 a n d/or ot h er pa ssen ger s, sh ou ld be con sider ed by t h is Cou r t a n d t h e per cen t a ge of

 fa u lt a t t r ibu t ed t o su ch n on -pa r t y t or t fea sor s be con sider ed wh en a ppor t ion in g

 da m a ges.

                           THIRTEEN TH AF F IRMATIVE D EF EN S E

         As it s Th ir t een t h Affir m a t ive Defen se, Defen da n t a lleges t h a t t h er e is n o

 ca u se of a ct ion , a s Defen da n t did n ot cr ea t e a n y da nger ou s or defect ive con dit ion ,

 a n d/or did n ot m a int a in a n a r ea or in st r u m en t a lit y in which su ch a con dit ion

                                                          6
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 exist ed.

                            F OU RTEEN TH AF F IRMATIVE D EF E N S E

          As it s F ou r t een t h Affir m a t ive Defen se, Defen da n t a lleges, wit h ou t a dm it t ing

 lia bilit y, t h a t P la in t iff’s a lleged da m a ges wer e ca u sed, eit h er in wh ole or in pa r t , by

 t h e in t en t ion a l a ct (s) a n d/or om ission (s) of t h ir d per son s for wh om it is n ot

 r espon sible, in clu ding Clyn t . S. H a dley a n d/or ot h er pa ssen ger s, wh ich wa s n ot

 r ea son a bly for eseea ble a n d wh o wer e n ot u n der it s ca r e, cu st ody, con t r ol or

 su per vision , a n d t h a t a m ou n t s t o a su per sedin g ca u se t h a t cu t s off a n y ca u sa l

 con n ect ion bet ween Defen da n t ’s a lleged n egligen ce, if a ny, a n d P la in t iff’s a lleged

 in ju r ies.

                              F IF TEEN TH AF F IRMATIVE D EF EN S E

          As it s F ift een t h Affir m a t ive Defen se, Defen da n t st a t es t h a t P la in t iff a ssu m ed

 t h e r isk of en ga gin g in a n a lt er ca t ion on t he da t e of t h e in ciden t .

                              S IXTEEN TH AF F IRMATIVE D EF EN S E

          As it s Sixt een t h Affir m a t ive Defen se, Defen da n t a sser t s t h a t a t t h e t im e a n d

 pla ce a lleged in t h e Com pla in t , P la in t iff kn ew, or in t h e exer cise of r ea son a ble ca r e

 sh ou ld h a ve kn own , of t h e pot en t ia l h a r m fu l con du ct a lleged in t h e Com pla in t , a n d

 t h a t P la in t iff volu n t a r ily ch ose t o r em a in exposed t o t h e pot en t ia l h a r m fu l con du ct

 wh ich t h e P la in t iff n ow com pla in s a n d, t h er efor e, P la in t iff sh ou ld be ba r r ed fr om

 r ecover y a ga in st Defen da n t a s h e a ssu m ed t h e r isk.

                           S EVEN TEEN TH AF F IRMATIVE D EF E N S E

          As it s Seven t een t h Affir m a t ive Defen se, Defen da n t a sser t s t h a t it h a d n o

 con st r u ct ive or a ct u a l k n owledge or n ot ice of t h e a lleged con du ct or , a lt er n a t ively,

 t h a t su ch con du ct wa s open a n d obviou s t o P la in t iff.

                            EIGHTEEN TH AF F IRMATIVE D EF EN S E

          As it s E igh t een t h Defen se, Defen da n t a sser t s t h a t it h a s n o du t y t o pr even t

 a n in t en t iona l a ssa u lt .

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                          N IN ETEEN TH AF F IRMATIVE D EF EN S E

         As it s Nin et een t h Affir m a t ive Defen se, Defen da n t a sser t s t h a t t h e a ssa u lt

 wa s n ot r ea son a bly for eseea ble.

        Defen da n t , CLASSICA CRUISE OP E RATOR, LTD., INC. r eser ves t h e r igh t t o

 a m en d it s Affir m a t ive Defen ses a s m or e fa ct s becom e kn ow n t h r ou gh t h e cou r se

 a n d scope of discover y.

        WH E RE F ORE , Defen da n t , CLASSICA CRUISE OP E RATOR, LTD., INC.,

 dem a n ds t h is H on or a ble Cou r t dism iss t h is a ct ion wit h preju dice a n d en t er

 ju dgm en t in it s fa vor , a wa r din g cost s a n d su ch ot h er a n d fu r t h er r elief t h is Cou r t

 deem s ju st a n d pr oper .



                      [S i g n a t u r e a n d Cer t i fi ca t e of S er v i ce t o Fol l ow ]



                                                      Respect fu lly Su bm it t ed

                                                      /s/ Annalisa Gutierrez
                                                      J er r y D. H a m ilt on , Esq.
                                                      F lor ida Ba r No. 970700
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                                                      F lor ida Ba r No. 97940
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                                                      F a csim ile: 305-379-3690
                                                      At t or n eys for D efen d a n t


                                    CERTIF ICATE OF S ERVICE

         I HEREB Y CERTIF Y t h a t on Ma y 2, 2019, I elect r on ica lly filed t h e
 for egoin g docu m en t wit h t h e Cler k of t h e Cou r t u sin g CM/E CF . I a lso cer t ify t h a t


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     t h e for egoin g is being ser ved t h is da y on a ll cou n sel of r ecor d or pr o se pa r t ies
     iden t ified on t h e a t t a ch ed Ser vice List in t h e m a n n er specified, eit h er via
     t r a n sm ission of Not ices of E lect r on ic F iling gen er a t ed by CM/ECF or in som e ot h er
     a u t h or ized m a n n er for t h ose cou n sel or pa r t ies wh o a r e n ot a u t h or ized t o r eceive
     elect r on ica lly n ot ices of E lect r on ic F ilin g.
                                                                    /s/ An n a lisa Gu t ier r ez
                                                                    An n a lisa Gu t ier r ez




                                                   S ERVICE LIS T

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